          Case 1:20-mj-00292-REB Document 6 Filed 10/23/20 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF IDAHO




 UNITED STATES OF AMERICA,                      )           Case        No.              MJ2O-292

                                                )
          Plaintiff,                            )
                                                )
    vs.                                         )           DEFENDANT’S ASSERTION OF
                                                )           FIFTH AND SIXTH AMENDMENT
 Paul Kryscuk                                   )           RIGHTS
                                                )
          Defendant.                            )

        I, the above-named defendant hereby assert                      my rights under the                               Fifth       and


Sixth Amendments of the United States Constitution,                              including but not limited to


my rights to remain silent and to have counsel present at any and all of my


interactions with the government or others acting on the government’s behalf.                                                          I   do


not wish to, and       will   not, waive any of my constitutional rights except in the


presence of counsel. I do not wish to have, nor do I consent to, any contact with any

government official, state or federal, including but not limited to law enforcement

agents, except through my counsel. I do not want the government or others acting

on the government’s behalf to question me, or to contact me seeking a waiver of any

rights, unless my counsel is present. The Government should so instruct its agents.

This is meant to apply to any and all legal matters and/or investigations.

Dated this              day of                            2020.

Respectfully,
                                                            /1   rL.t   I       A                 Digitally signed by Mark J Ackley
                                                           lvi CII I I.)    .   1’ii...?IX   .Y   Date: 202010.21 14:57 53 -0600’


Defendant                                                 Attorney




Assertion of Fifth              and    Sixth        -1-
Amendment Rights
